Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 1 of 96
Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 2 of 96
Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 3 of 96
Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 4 of 96
Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 5 of 96
Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 6 of 96
Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 7 of 96
Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 8 of 96
Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 9 of 96
Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 10 of 96
                Case 1:25-cv-00916-JDB                Document 120             Filed 05/06/25         Page 11 of 96

                       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                            Plaintiff
                                                              vs.                       Case No.: 1:25-cv-00916-BAH
U.S. Department of Justice, et al.
                         Defendants



                                           AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.

DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits

SERVE TO: Department of Defense

SERVICE ADDRESS: 1000 Defense Pentagon, Washington, DC 20301

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Department of Defense, 1000 Defense
Pentagon, Washington, DC 20301 on 04/11/2025 via United States Postal Service, Certified Mail, Return Receipt Requested. Article
Number: 9402 8362 0855 1274 4814 50. Service was signed for on 04/14/2025, electronic return receipt attached.

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 04/22/2025




                                                                                                                       Carrie Hollingshed


                                                                                                             Client Ref Number: 358086-201
                                                                                                                            Job #:13080773




          Capitol Process Services, Inc. | 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 | (202) 667-0050
            Case 1:25-cv-00916-JDB                Document 120            Filed 05/06/25          Page 12 of 96


April 14, 2025

Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4814 50.

Item Details

Status:                                                 Delivered, Individual Picked Up at Postal Facility
Status Date / Time:                                     April 14, 2025, 7:12 am
Location:                                               WASHINGTON, DC 20310
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         DEPARTMENT OF DEFENSE
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

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United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004




               Department of Defense
               1000 Defense Pentagon
               Washington, DC 20301
               Reference #: 13080773
Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 13 of 96
Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 14 of 96
                Case 1:25-cv-00916-JDB                Document 120             Filed 05/06/25         Page 15 of 96

                       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                            Plaintiff
                                                              vs.                       Case No.: 1:25-cv-00916-BAH
U.S. Department of Justice, et al.
                         Defendants



                                           AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.

DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits

SERVE TO: Department of the Interior

SERVICE ADDRESS: 1849 C Street, NW, Washington, DC 20240

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Department of the Interior, 1849 C
Street, NW, Washington, DC 20240 on 04/11/2025 via United States Postal Service, Certified Mail, Return Receipt Requested. Article
Number: 9402 8362 0855 1274 4814 81. Service was signed for on 04/14/2025, electronic return receipt attached.

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 04/22/2025




                                                                                                                       Carrie Hollingshed


                                                                                                             Client Ref Number: 358086-201
                                                                                                                            Job #:13080852




          Capitol Process Services, Inc. | 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 | (202) 667-0050
            Case 1:25-cv-00916-JDB                Document 120            Filed 05/06/25          Page 16 of 96


April 14, 2025

Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4814 81.

Item Details

Status:                                                 Delivered, Front Desk/Reception/Mail Room
Status Date / Time:                                     April 14, 2025, 12:12 pm
Location:                                               WASHINGTON, DC 20240
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         U S DEPARTMENT OF THE INTERIOR
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

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Sincerely,
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Washington, D.C. 20260-0004




               U.S. Department of the Interior
               1849 C Street, NW
               Washington, DC 20240
               Reference #: 13080852
                Case 1:25-cv-00916-JDB                 Document 120            Filed 05/06/25         Page 17 of 96

                       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                            Plaintiff
                                                               vs.                      Case No.: 1:25-cv-00916-BAH
U.S. Department of Justice, et al.
                         Defendants



                                           AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.

DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits

SERVE TO: Doug Burgum, in his official capacity as Secretary of the Interior

SERVICE ADDRESS: 1849 C Street, NW, Washington, DC 20240

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Doug Burgum, in his official capacity as
Secretary of the Interior, 1849 C Street, NW, Washington, DC 20240 on 04/11/2025 via United States Postal Service, Certified Mail, Return
Receipt Requested. Article Number: 9402 8362 0855 1274 4814 67. Service was signed for on 04/14/2025, electronic return receipt
attached.

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 04/22/2025




                                                                                                                       Carrie Hollingshed


                                                                                                             Client Ref Number: 358086-201
                                                                                                                            Job #:13080813




          Capitol Process Services, Inc. | 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 | (202) 667-0050
            Case 1:25-cv-00916-JDB                Document 120            Filed 05/06/25          Page 18 of 96


April 14, 2025

Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4814 67.

Item Details

Status:                                                 Delivered, Front Desk/Reception/Mail Room
Status Date / Time:                                     April 14, 2025, 12:12 pm
Location:                                               WASHINGTON, DC 20240
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         U S DEPARTMENT OF THE INTERIOR
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

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Sincerely,
United States Postal Service®
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Washington, D.C. 20260-0004




               U.S. Department of the Interior
               Doug Burgum, Secretary
               1849 C Street, NW
               Washington, DC 20240
               Reference #: 13080813
                Case 1:25-cv-00916-JDB                Document 120             Filed 05/06/25         Page 19 of 96

                       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                            Plaintiff
                                                              vs.                       Case No.: 1:25-cv-00916-BAH
U.S. Department of Justice, et al.
                         Defendants



                                           AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.

DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits

SERVE TO: U.S. Department of Justice

SERVICE ADDRESS: 950 Pennsylvania Avenue, NW, Washington, DC 20530

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to U.S. Department of Justice, 950
Pennsylvania Avenue, NW, Washington, DC 20530 on 04/11/2025 via United States Postal Service, Certified Mail, Return Receipt
Requested. Article Number: 9402 8362 0855 1274 4814 98. Service was signed for on 04/14/2025, electronic return receipt attached.

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 04/22/2025




                                                                                                                       Carrie Hollingshed


                                                                                                             Client Ref Number: 358086-201
                                                                                                                            Job #:13080922




          Capitol Process Services, Inc. | 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 | (202) 667-0050
            Case 1:25-cv-00916-JDB                Document 120            Filed 05/06/25          Page 20 of 96


April 14, 2025

Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4814 98.

Item Details

Status:                                                 Delivered, Individual Picked Up at Postal Facility
Status Date / Time:                                     April 14, 2025, 5:49 am
Location:                                               WASHINGTON, DC 20530
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         U S DEPARTMENT OF JUSTICE
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

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assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

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Washington, D.C. 20260-0004




               U.S. Department of Justice
               U.S. Department of Justice
               950 Pennsylvania Avenue, NW
               Washington, DC 20530
               Reference #: 13080922
                Case 1:25-cv-00916-JDB                Document 120             Filed 05/06/25         Page 21 of 96

                       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                            Plaintiff
                                                              vs.                       Case No.: 1:25-cv-00916-BAH
U.S. Department of Justice, et al.
                         Defendants



                                           AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.

DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits

SERVE TO: Equal Employment Opportunity Commission

SERVICE ADDRESS: 131 M Street, NE, Washington, DC 20507

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Equal Employment Opportunity
Commission, 131 M Street, NE, Washington, DC 20507 on 04/11/2025 via United States Postal Service, Certified Mail, Return Receipt
Requested. Article Number: 9402 8362 0855 1274 4815 11. Service was signed for on 04/14/2025, electronic return receipt attached.

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 04/22/2025




                                                                                                                       Carrie Hollingshed


                                                                                                             Client Ref Number: 358086-201
                                                                                                                            Job #:13080981




          Capitol Process Services, Inc. | 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 | (202) 667-0050
            Case 1:25-cv-00916-JDB                Document 120            Filed 05/06/25          Page 22 of 96


April 14, 2025

Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4815 11.

Item Details

Status:                                                  Delivered, Front Desk/Reception/Mail Room
Status Date / Time:                                      April 14, 2025, 10:22 am
Location:                                                WASHINGTON, DC 20507
Postal Product:                                          Priority Mail®
Extra Services:                                          Certified Mail™
                                                         Return Receipt Electronic
                                                         Up to $100 insurance included
Recipient Name:                                          EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

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Washington, D.C. 20260-0004




               Equal Employment Opportunity Commission
               131 M Street, NE
               Washington, DC 20507
               Reference #: 13080981
                Case 1:25-cv-00916-JDB                Document 120             Filed 05/06/25         Page 23 of 96

                       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                            Plaintiff
                                                              vs.                       Case No.: 1:25-cv-00916-BAH
U.S. Department of Justice, et al.
                         Defendants



                                           AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.

DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits

SERVE TO: Andrea Lucas, in her official capacity as Acting Chair of the Equal Employment Opportunity Commission

SERVICE ADDRESS: 131 M Street, NE, Washington, DC 20507

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Andrea Lucas, in her official capacity as
Acting Chair of the Equal Employment Opportunity Commission, 131 M Street, NE, Washington, DC 20507 on 04/11/2025 via United
States Postal Service, Certified Mail, Return Receipt Requested. Article Number: 9402 8362 0855 1274 4815 04. Service was signed for on
04/14/2025, electronic return receipt attached.

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 04/22/2025




                                                                                                                       Carrie Hollingshed


                                                                                                             Client Ref Number: 358086-201
                                                                                                                            Job #:13080969




          Capitol Process Services, Inc. | 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 | (202) 667-0050
            Case 1:25-cv-00916-JDB                Document 120            Filed 05/06/25          Page 24 of 96


April 14, 2025

Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4815 04.

Item Details

Status:                                                  Delivered, Front Desk/Reception/Mail Room
Status Date / Time:                                      April 14, 2025, 10:22 am
Location:                                                WASHINGTON, DC 20507
Postal Product:                                          Priority Mail®
Extra Services:                                          Certified Mail™
                                                         Return Receipt Electronic
                                                         Up to $100 insurance included
Recipient Name:                                          ANDREA LUCAS ACTING CHAIR
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

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Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004




               Andrea Lucas, Acting Chair
               Equal Employment Opportunity Commission
               131 M Street, NE
               Washington, DC 20507
               Reference #: 13080969
                Case 1:25-cv-00916-JDB                Document 120             Filed 05/06/25         Page 25 of 96

                       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                            Plaintiff
                                                              vs.                       Case No.: 1:25-cv-00916-BAH
U.S. Department of Justice, et al.
                         Defendants



                                           AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.

DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits

SERVE TO: Environmental Protection Agency

SERVICE ADDRESS: 1200 Pennsylvania Avenue, NW, Washington, DC 20460

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Environmental Protection Agency, 1200
Pennsylvania Avenue, NW, Washington, DC 20460 on 04/11/2025 via United States Postal Service, Certified Mail, Return Receipt
Requested. Article Number: 9402 8362 0855 1274 4815 35. Service was signed for on 04/14/2025, return receipt attached.

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 04/22/2025




                                                                                                                       Carrie Hollingshed


                                                                                                             Client Ref Number: 358086-201
                                                                                                                            Job #:13081047




          Capitol Process Services, Inc. | 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 | (202) 667-0050
            Case 1:25-cv-00916-JDB                Document 120            Filed 05/06/25          Page 26 of 96


April 14, 2025

Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4815 35.

Item Details

Status:                                                 Delivered, Front Desk/Reception/Mail Room
Status Date / Time:                                     April 14, 2025, 8:44 am
Location:                                               WASHINGTON, DC 20460
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         ENVIRONMENTAL PROTECTION AGENCY
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

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assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

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United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004




               Environmental Protection Agency
               1200 Pennsylvania Avenue, NW
               Washington, DC 20460
               Reference #: 13081047
                Case 1:25-cv-00916-JDB                 Document 120            Filed 05/06/25            Page 27 of 96

                       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                            Plaintiff
                                                              vs.                        Case No.: 1:25-cv-00916-BAH
U.S. Department of Justice, et al.
                         Defendants



                                           AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.

DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits

SERVE TO: Lee Zeldin, in his official capacity as Administrator of the Environmental Protection Agency

SERVICE ADDRESS: 1200 Pennsylvania Avenue, NW, Washington, DC 20460

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Lee Zeldin, in his official capacity as
Administrator of the Environmental Protection Agency, 1200 Pennsylvania Avenue, NW, Washington, DC 20460 on 04/11/2025 via United
States Postal Service, Certified Mail, Return Receipt Requested. Article Number: 9402 8362 0855 1274 4815 28. Service was signed for on
04/14/2025, electronic return receipt attached.

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 04/22/2025




                                                                                                                       Carrie Hollingshed


                                                                                                             Client Ref Number: 358086-201
                                                                                                                            Job #:13081038




          Capitol Process Services, Inc. | 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 | (202) 667-0050
            Case 1:25-cv-00916-JDB                Document 120            Filed 05/06/25          Page 28 of 96


April 14, 2025

Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4815 28.

Item Details

Status:                                                 Delivered, Front Desk/Reception/Mail Room
Status Date / Time:                                     April 14, 2025, 8:44 am
Location:                                               WASHINGTON, DC 20460
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         LEE ZELDIN ADMINISTRATOR
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


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assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004




               Lee Zeldin, Administrator
               Environmental Protection Agency
               1200 Pennsylvania Avenue, NW
               Washington, DC 20460
               Reference #: 13081038
               Case 1:25-cv-00916-JDB                 Document 120             Filed 05/06/25         Page 29 of 96


                         IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                              Plaintiff
                                                               vs.                       Case No.: 1:25-cv-00916-BAH
U.S. Department ofJustice, et al.
                         Defendants


                                            AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.

DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits


SERVE TO: Federal Communications Commission

SERVICE ADDRESS: 45 L Street, NE, Washington, DC 20554

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Federal Communications Commission,
45 L Street, NE, Washington, DC 20554 on 04/10/2025 via United States Postal Service, Certified Mail, Return Receipt Requested. Article
Number: 9402 8362 0855 1274 4801 63. Service was signed for on 04/18/2025, electronic return receipt attached.

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief

Executed on 04/24/2025




                                                                                                                       Carrie Hollingshed


                                                                                                             Client Ref Number: 358086-201
                                                                                                                            Job #: 13080050




             Capitol Process Services, Inc. I 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 I (202) 667-0050
         Case 1:25-cv-00916-JDB                  Document 120            Filed 05/06/25           Page 30 of 96

~ UNITED ST/lTES
D     POST/.1.L SERVICE

April 18, 2025

Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4801 63.

Item Details

Status:                                                 Delivered, Individual Picked Up at Postal Facility
Status Date / Time:                                     April 17, 2025, 6:4 7 am
Location:                                               WASHINGTON, DC 20554
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         FEDERAL COMMUNICATIONS COMMISSION




                  Signature of Recipient:


                    Address of Recipient:

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assistance, please contact your local Post Office TM or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
4 75 L'Enfant Plaza SW
Washington, D.C. 20260-0004




               Federal Communications Commission
               45 L Street, NE
               Washington, DC 20554
               Reference #: 13080050
                Case 1:25-cv-00916-JDB                Document 120             Filed 05/06/25         Page 31 of 96

                       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                            Plaintiff
                                                              vs.                       Case No.: 1:25-cv-00916-BAH
U.S. Department of Justice, et al.
                         Defendants



                                           AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.

DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits

SERVE TO: Brendan Carr, in his official capacity as the Chairman of the Federal Communications Commission

SERVICE ADDRESS: 45 L Street, NE, Washington, DC 20554

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Brendan Carr, in his official capacity as
the Chairman of the Federal Communications Commission, 45 L Street, NE, Washington, DC 20554 on 04/11/2025 via United States
Postal Service, Certified Mail, Return Receipt Requested. Article Number: 9402 8362 0855 1274 4815 42. Service was signed for on
04/18/2025, electronic return receipt attached.

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 04/22/2025




                                                                                                                       Carrie Hollingshed


                                                                                                             Client Ref Number: 358086-201
                                                                                                                            Job #:13081059




          Capitol Process Services, Inc. | 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 | (202) 667-0050
            Case 1:25-cv-00916-JDB                 Document 120           Filed 05/06/25          Page 32 of 96


April 18, 2025

Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4815 42.

Item Details

Status:                                                 Delivered, Individual Picked Up at Postal Facility
Status Date / Time:                                     April 17, 2025, 6:47 am
Location:                                               WASHINGTON, DC 20554
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         BRENDAN CARR CHAIRMAN
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

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               Brendan Carr, Chairman
               Federal Communications Commission
               45 L Street, NE
               Washington, DC 20554
               Reference #: 13081059
               Case 1:25-cv-00916-JDB                 Document 120             Filed 05/06/25         Page 33 of 96


                          IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                               Plaintiff
                                                                vs.                       Case No.: 1:25-cv-00916-BAH
U.S. Department ofjustice, et al.
                         Defendants


                                             AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.


DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits


SERVE TO: Anna M. Gomez, in her official capacity as the Commissioner of the Federal Communications Commission

SERVICE ADDRESS: 45 L Street, NE, Washington, DC 20554

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Anna M. Gomez, in her official capacity
as the Commissioner of the Federal Communications Commission, 45 L Street, NE, Washington, DC 20554 on 04/10/2025 via United
States Postal Service, Certified Mail, Return Receipt Requested. Article Number: 9402 8362 0855 1274 4799 45. Service was signed for on
0411 B/2025, electronic return receipt attached.


I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 04/24/2025




                                                                                                                        Carrie Hollingshed


                                                                                                              Client Ref Number: 358086-201
                                                                                                                            Job #: 13080011




              Capitol Process Services, Inc. I 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 I (202) 667-0050
        Case 1:25-cv-00916-JDB                  Document 120             Filed 05/06/25          Page 34 of 96

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April 18, 2025


Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4799 45.

Item Details

Status:                                                 Delivered, Individual Picked Up at Postal Facility
Status Date I Time:                                     April 17, 2025, 6:4 7 am
Location:                                               WASHINGTON, DC 20554
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail TM
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         ANNA M GOMEZ COMMISSIONER




                  Signature of Recipient:


                    Address of Recipient:

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Washington, D.C. 20260-0004




               Anna M. Gomez, Commissioner
               Federal Communications Commission
               45 L Street, NE
               Washington, DC 20554
               Reference #: 13080011
               Case 1:25-cv-00916-JDB                 Document 120            Filed 05/06/25          Page 35 of 96


                          IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                              Plaintiff
                                                                vs.                      Case No.: 1:25-cv-00916-BAH
U.S. Department ofjustice, et al.
                         Defendants


                                             AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.

DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate judge; Civil Cover Sheet; and Complaint with Exhibits

SERVE TO: Nathan Simington, in his official capacity as the Commissioner of the Federal Communications Commission

SERVICE ADDRESS: 45 L Street, NE, Washington, DC 20554

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Nathan Simington, in his official
capacity as the Commissioner of the Federal Communications Commission, 45 L Street, NE, Washington, DC 20554 on 04/10/2025 via
United States Postal Service, Certified Mail, Return Receipt Requested. Article Number: 9402 8362 0855 1274 4801 49. Service was signed
for on 04/18/2025, electronic return receipt attached.

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 04/24/2025




                                                                                                                        Carrie Hollingshed


                                                                                                             Client Ref Number: 358086-201
                                                                                                                            Job #:13080014




              Capitol Process Services, Inc. I 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 I (202) 667-0050
        Case 1:25-cv-00916-JDB                  Document 120             Filed 05/06/25          Page 36 of 96

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D    POSTl.1L SERVICE

April 18, 2025

Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4801 49.

Item Details

Status:                                                 Delivered, Individual Picked Up at Postal Facility
Status Date I Time:                                     April 17, 2025, 6:47 am
Location:                                               WASHINGTON, DC 20554
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Reci.ient Name:                                         NATHAN SIMINGTON COMMISSIONER

~Ai IUll-l1Liliii-
                  signature of Recipient:              ~W·'' ]
                    Address of Recipient:               =W:~J~~~ ·. '          J
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               Nathan Simington, Commissioner
               Federal Communications Commission
               45 L Street, NE
               Washington, DC 20554
               Reference#: 13080014
             Case 1:25-cv-00916-JDB                  Document 120             Filed 05/06/25          Page 37 of 96


                       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                            Plaintiff
                                                              vs.                        Case No.: 1:25-cv-00916-BAH
U.S. Department ofJustice, et al.
                         Defendants


                                           AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Setver, being duly sworn, depose and say, I have been duly authorized to make setvice of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.


DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits


SERVE TO: Geoffrey Starks, in his official capacity as the Commissioner of the Federal Communications Commission

SERVICE ADDRESS: 45 L Street, NE, Washington, DC 20554


METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Geoffrey Starks, in his official capacity
as the Commissioner of the Federal Communications Commission, 45 L Street, NE, Washington, DC 20554 on 04/10/2025 via United
States Postal Service, Certified Mail, Return Receipt Requested. Article Number: 9402 8362 0855 1274 4801 56. Service was signed for on
04/18/2025, electronic return receipt attached.


I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 04124/2025




                                                                                                                        Carrie Hollingshed


                                                                                                             Client Ref Number: 358086-201
                                                                                                                            Job #: 13080034




           Capitol Process Services, Inc. I 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 I (202) 667-0050
         Case 1:25-cv-00916-JDB                 Document 120             Filed 05/06/25           Page 38 of 96

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D     POSTAL SERVICE


April 18, 2025

Dear Simple Certified:

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9402 8362 0855 1274 4801 56.

Item Details

Status:                                                 Delivered, Individual Picked Up at Postal Facility
Status Date / Time:                                     April 17, 2025, 6:4 7 am
Location:                                               WASHINGTON, DC 20554
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail TM
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         GEOFFREY STARKS COMMISSIONER

~Mi·iMUii-i,MNir
                  Signature of Recipient:               ~E·' ]


                    Address of Recipient:               =~~~~~~ •·           1   J
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               Geoffrey Starks, Commissioner
               Federal Communications Commission
               45 L Street, NE
               Washington, DC 20554
               Reference #: 13080034
             Case 1:25-cv-00916-JDB                 Document 120             Filed 05/06/25           Page 39 of 96


                        IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                            Plaintiff
                                                              vs.                        Case No.: 1 :25-cv-00916-BAH
U.S. Department a/justice, et al.
                         Defendants



                                           AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.


DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits


SERVE TO: Federal Energy Regulatory Commission

SERVICE ADDRESS: 888 First Street, NE, Washington, DC 20426


METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Federal Energy Regulatory Commission,
888 First Street, NE, Washington, DC 20426 on 04/11/2025 via United States Postal Service, Certified Mail, Return Receipt Requested.
Article Number: 9402 8362 0855 1274 4802 48. Service was signed for on 04/14/2025, electronic return receipt attached.


I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 04/24/2025




                                                                                                                       Carrie Hollingshed


                                                                                                             Client Ref Number: 358086-201
                                                                                                                           Job #: 13080204




          Capitol Process Services, Inc. I 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 I (202) 667-0050
          Case 1:25-cv-00916-JDB                  Document 120           Filed 05/06/25          Page 40 of 96

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l!ij POST/JL SERVICE
April 14, 2025

Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4802 48.

,Item Details

Status:                                                  Delivered, Front Desk/Reception/Mail Room
Status Date / Time:                                      April 14, 2025, 12:32 pm
Location:                                                WASHINGTON, DC 20426
Postal Product:                                          Priority Mail®
Extra Services:                                          Certified Mail TM
                                                         Return Receipt Electronic
                                                         Up to $100 insurance included
Recipient Name:                                          FEDERAL ENERGY REGULATORY COMMISSION
Recipient Signature


                     Signature of Recipient:


                       Address of Recipient:

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Washington, D.C. 20260-0004




                  Federal Energy Regulatory Commission
                  888 First Street, NE
                  Washington, DC 20426
                  Reference #: 13080204
               Case 1:25-cv-00916-JDB                     Document 120        Filed 05/06/25          Page 41 of 96


                          IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                              Plaintiff
                                                               vs.                      Case No.: 1 :25-cv-00916-BAH
U.S. Department ofJustice, et al.
                         Defendants



                                             AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.


DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits


SERVE TO: Judy W. Chang, in her official capacity as Commissioner of the Federal Energy Regulatory Commission

SERVICE ADDRESS: 888 First Street, NE, Washington, DC 20426

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Judy W. Chang, in her official capacity
as Commissioner of the Federal Energy Regulatory Commission, 888 First Street, NE, Washington, DC 20426 on 04/11/2025 via United
States Postal Service, Certified Mail, Return Receipt Requested. Article Number: 9402 8362 0855 12744801 87. Service was signed for on
04/14/2025, electronic return receipt attached.


I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief

Executed on 04/24/2025

Subscribed and sworn to before me by the affiant who is
personally known to me.



                                                                                                                        Carrie Hollingshed
Angela H. Croson
Notary Public, Prince George's County, MD
                      215/2029

                       Commission Expires
                                                                                                             Client Ref Number: 358086-201
                                                                                                                            Job #: 13080090




             Capitol Process Services, Inc. I 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 I (202) 667-0050
         Case 1:25-cv-00916-JDB                  Document 120             Filed 05/06/25          Page 42 of 96
~ UNITEDSTjjTES
D     POST/J.LSERVICE


April 14, 2025

Dear Simple Certified:


The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4801 87.

Item Details

Status:                                                 Delivered, Front Desk/Reception/Mail Room
Status Date I Time:                                     April 14, 2025, 12:32 pm
Location:                                               WASHINGTON, DC 20426
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail TM
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         JUDY W CHANG COMMISSIONER
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

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Sincerely,
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Washington, D.C. 20260-0004




               Judy W. Chang, Commissioner
               Federal Energy Regulatory Commission
               888 First Street, NE
               Washington, DC 20426
               Reference #: 13080090
             Case 1:25-cv-00916-JDB                  Document 120             Filed 05/06/25          Page 43 of 96


                       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                            Plaintiff
                                                              vs.                       Case No.: 1 :25-cv-00916-BAH
U.S. Department ofJustice, et al.
                         Defendants



                                           AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.


DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits


SERVE TO: Mark C. Christie, in his official capacity as Chairman of the Federal Energy Regulatory Commission

SERVICE ADDRESS: 888 First Street, NE, Washington, DC 20426

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Mark C. Christie, in his official capacity
as Chairman of the Federal Energy Regulatory Commission, 888 First Street, NE, Washington, DC 20426 on 04/11/2025 via United States
Postal Service, Certified Mail, Return Receipt Requested. Article Number: 9402 8362 0855 1274 4802 00. Service was signed for on
04/14/2025, electronic return receipt attached.


I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief

Executed on 04124/2025




                                                                                                                         Carrie Hollingshed


                                                                                                               Client Ref Number: 358086-201
                                                                                                                              Job #:13080109




           Capitol Process Services, Inc. I 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 I (202) 667-0050
         Case 1:25-cv-00916-JDB                  Document 120            Filed 05/06/25           Page 44 of 96
iiir!!l!f UNITED ST/JTES
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April 14, 2025

Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4802 00.

Item Details

Status:                                                 Delivered, Front Desk/Reception/Mail Room
Status Date I Time:                                     April 14, 2025, 12:32 pm
Location:                                               WASHINGTON, DC 20426
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         MARK C CHRISTIE CHAIRMAN
Recipient Signature


                   Signature of Recipient:


                     Address of Recipient:

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Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004




                Mark C. Christie, Chairman
                Federal Energy Regulatory Commission
                888 First Street, NE
                Washington, DC 20426
                Reference#: 13080109
                 Case 1:25-cv-00916-JDB                   Document 120          Filed 05/06/25          Page 45 of 96


                          IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                               Plaintiff
                                                                vs.                       Case No.: 1 :25-cv-00916-BAH
U.S. Department ofJustice, et al.
                         Defendants



                                             AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.

DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate judge; Civil Cover Sheet; and Complaint with Exhibits


SERVE TO: Willie L. Phillips, in his official capacity as Commissioner of the Federal Energy Regulatory Commission

SERVICE ADDRESS: 888 First Street, NE, Washington, DC 20426

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Willie L. Phillips, in his official capacity
as Commissioner of the Federal Energy Regulatory Commission, 888 First Street, NE, Washington, DC 20426 on 04/11/2025 via United
States Postal Service, Certified Mail, Return Receipt Requested. Article Number: 9402 8362 0855 1274 4802 17. Service was signed for on
04/14/2025, electronic return receipt attached.

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 04/24/2025

Subscribed and sworn to before me by the affiant who is
personally known to me.



                                                                                                                         Carrie Hollingshed
Angela H. Croson
Notary Public, Prince George's County, MD
                        215/2029

                        Commission Expires
                                                                                                              Client Ref Number: 358086-201
                                                                                                                             Job #: 13080120




               Capitol Process Services, Inc. I 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 I (202) 667-0050
          Case 1:25-cv-00916-JDB                   Document 120           Filed 05/06/25          Page 46 of 96
iiiiir!'l!f UNITED ST/JTES
D      POST/JL SERVICE

April 14, 2025

Dear Simple Certified:


The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4802 17.

Item Details

Status:                                                  Delivered, Front Desk/Reception/Mail Room
Status Date I Time:                                      April 14, 2025, 12:32 pm
Location:                                                WASHINGTON, DC 20426
Postal Product:                                          Priority Mail®
Extra Services:                                          Certified Mail TM
                                                         Return Receipt Electronic
                                                         Up to $100 insurance included
Recipient Name:                                          WILLIE L PHILLIPS COMMISSIONER
Recipient Signature


                     Signature of Recipient:


                       Address of Recipient:

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Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004




                  Willie L. Phillips, Commissioner
                  Federal Energy Regulatory Commission
                  888 First Street, NE
                  Washington, DC 20426
                  Reference#: 13080120
             Case 1:25-cv-00916-JDB                  Document 120             Filed 05/06/25           Page 47 of 96


                       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                            Plaintiff
                                                              vs.                       Case No.: 1:25-cv-00916-BAH
U.S. Department ofJustice, et al.
                         Defendants



                                           AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.


DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits


SERVE TO: David Rosner, in his official capacity as Commissioner of the Federal Energy Regulatory Commission

SERVICE ADDRESS: 888 First Street, NE, Washington, DC 20426


METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to David Rosner, in his official capacity as
Commissioner of the Federal Energy Regulatory Commission, 888 First Street, NE, Washington, DC 20426 on 04/1112025 via United States
Postal Service, Certified Mail, Return Receipt Requested. Article Number: 9402 8362 0855 1274 4802 24. Service was signed for on
04/14/2025, electronic return receipt attached.


I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 04/24/2025




                                                                                                                        Carrie Hollingshed


                                                                                                             Client Ref Number: 358086-201
                                                                                                                            Job #: 13080144




           Capitol Process Services, Inc. I 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 I (202) 667-0050
         Case 1:25-cv-00916-JDB                  Document 120             Filed 05/06/25          Page 48 of 96
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Ila POSTJJL SERVICE
April 14, 2025

Dear Simple Certified:


The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4802 24.

Item Details

Status:                                                 Delivered, Front Desk/Reception/Mail Room
Status Date / Time:                                     April 14, 2025, 12:32 pm
Location:                                               WASHINGTON, DC 20426
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail TM
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         DAVID ROSNER COMMISSIONER
Recipient Sig nature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


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Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004




               David Rosner, Commissioner
               Federal Energy Regulatory Commission
               888 First Street, NE
               Washington, DC 20426
               Reference#: 13080144
                Case 1:25-cv-00916-JDB                 Document 120            Filed 05/06/25          Page 49 of 96


                          IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                               Plaintiff
                                                                vs.                       Case No.: 1 :25-cv-00916-BAH
U.S. Department ofJustice, et al.
                         Defendants



                                             AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.

DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate judge; Civil Cover Sheet; and Complaint with Exhibits


SERVE TO: Lindsay S. See, in her official capacity as Commissioner of the Federal Energy Regulatory Commission

SERVICE ADDRESS: 888 First Street, NE, Washington, DC 20426

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Lindsay S. See, in her official capacity as
Commissioner of the Federal Energy Regulatory Commission, 888 First Street, NE, Washington, DC 20426 on 04/10/2025 via United States
Postal Service, Certified Mail, Return Receipt Requested. Article Number: 9402 8362 0855 1274 4802 31. Service was signed for on
04/14/2025, electronic return receipt attached.

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 04/24/2025




                                                                                                                         Carrie Hollingshed


                                                                                                              Client Ref Number: 358086-201
                                                                                                                             Job #:13080156




               Capitol Process Services, Inc. I 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 I (202) 667-0050
        Case 1:25-cv-00916-JDB                  Document 120             Filed 05/06/25          Page 50 of 96

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April 14, 2025

Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4802 31.

Item Details

Status:                                                 Delivered, Front Desk/Reception/Mail Room
Status Date I Time:                                     April 14, 2025, 12:32 pm
Location:                                               WASHINGTON, DC 20426
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail rM
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         LINDSAY S SEE COMMISSIONER
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

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Washington, D.C. 20260-0004




               Lindsay S. See, Commissioner
               Federal Energy Regulatory Commission
               888 First Street, NE
               Washington, DC 20426
               Reference #: 130801 56
               Case 1:25-cv-00916-JDB                Document 120              Filed 05/06/25         Page 51 of 96


                         IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                             Plaintiff
                                                               vs.                      Case No.: 1 :25-cv-00916-BAH
U.S. Department ofJustice, et al.
                         Defendants



                                            AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.

DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits

SERVE TO: Federal Trade Commission

SERVICE ADDRESS: 600 Pennsylvania Avenue, NW, Washington, DC 20580

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Federal Trade Commission, 600
Pennsylvania Avenue, NW, Washington, DC 20580 on 04/11/2025 via United States Postal Service, Certified Mail, Return Receipt
Requested. Article Number: 9402 8362 0855 1274 4802 86. Service was signed for on 04/14/2025, electronic return receipt attached.


I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief

Executed on 04/24/2025




                                                                                                                        Carrie Hollingshed


                                                                                                             Client Ref Number: 358086-201
                                                                                                                            Job #: 13080252




             Capitol Process Services, Inc. I 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 I (202) 667-0050
         Case 1:25-cv-00916-JDB                 Document 120             Filed 05/06/25          Page 52 of 96

iiiir!l!!fl UNITED STATES
.U POSTAL SERVICE
April 14, 2025

Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4802 86.

Item Details

Status:                                                 Delivered, Individual Picked Up at Postal Facility
Status Date/ Time:                                      April 14, 2025, 8:36 am
Location:                                               WASHINGTON, DC 20580
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail TM
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         FEDERAL TRADE COMMISSION
Recipient Signature


                    Signature of Recipient:


                      Address of Recipient:

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assistance, please contact your local Post Office TM or a Postal representative at 1-800-222-1811.

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Washington, D.C. 20260-0004




                 Federal Trade Commission
                 600 Pennsylvania Avenue, NW
                 Washington, DC 20580
                 Reference #: 13080252
               Case 1:25-cv-00916-JDB                 Document 120             Filed 05/06/25          Page 53 of 96


                          IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                              Plaintiff
                                                                VS.                      Case No.: 1 :25-cv-00916-BAH
U.S. Department ofJustice, et al.
                         Defendants



                                             AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.

DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits


SERVE TO: Andrew N. Ferguson, in his official capacity as Chairman, Federal Trade Commission

SERVICE ADDRESS: 600 Pennsylvania Avenue, NW, Washington, DC 20580

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Andrew N. Ferguson, in his official
capacity as Chairman, Federal Trade Commission, 600 Pennsylvania Avenue, NW, Washington, DC 20580 on 04/10/2025 via United
States Postal Service, Certified Mail, Return Receipt Requested. Article Number: 9402 8362 0855 1274 4802 55. Service was signed for on
04/14/2025, electronic return receipt attached.

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 04/24/2025




                                                                                                                        Carrie Hollingshed


                                                                                                             Client Ref Number: 358086-201
                                                                                                                            Job #: 13080238




              Capitol Process Services, Inc. I 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 I (202) 667-0050
          Case 1:25-cv-00916-JDB                  Document 120           Filed 05/06/25          Page 54 of 96

iiiiiirJ!!I UNITED STl.1TES
.IJ.iii POSTl.1L SERVICE
April 14, 2025

Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 08551274 4802 55.

Item Details

Status:                                                 Delivered, Individual Picked Up at Postal Facility
Status Date I Time:                                     April 14, 2025, 8:36 am
Location:                                               WASHINGTON, DC 20580
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail TM
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         ANDREW N FERGUSON CHAIRMAN
Recipient Signature


                      Signature of Recipient:


                        Address of Recipient:

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                   Andrew N. Ferguson, Chairman
                   Federal Trade Commission
                   600 Pennsylvania Avenue, NW
                   Washington, DC 20580
                   Reference #: 13080238
              Case 1:25-cv-00916-JDB                 Document 120            Filed 05/06/25           Page 55 of 96


                        IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                             Plaintiff
                                                               vs.                       Case No.: 1 :25-cv-00916-BAH
U.S. Department ofjustice, et al.
                         Defendants



                                            AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.


DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate judge; Civil Cover Sheet; and Complaint with Exhibits


SERVE TO: Melissa Holyoak, in her official capacity as Commissioner, Federal Trade Commission

SERVICE ADDRESS: 600 Pennsylvania Avenue, NW, Washington, DC 20580

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Melissa Holyoak, in her official capacity
as Commissioner, Federal Trade Commission, 600 Pennsylvania Avenue, NW, Washington, DC 20580 on 04110/2025 via United States
Postal Service, Certified Mail, Return Receipt Requested. Article Number: 9402 8362 0855 1274 4802 79. Service was signed for on
04/14/2025, electronic return receipt attached.


I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief

Executed on 04/24/2025




                                                                                                                        Carrie Hollingshed


                                                                                                             Client Ref Number: 358086-201
                                                                                                                            Job #: 13080245




             Capitol Process Services, Inc. I 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 I (202) 667-0050
        Case 1:25-cv-00916-JDB                  Document 120             Filed 05/06/25          Page 56 of 96
~ UNITED ST/JTES
lfa POST/JL SERVICE
April 14, 2025

Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4802 79.

Item Details

Status:                                                 Delivered, Individual Picked Up at Postal Facility
Status Date I Time:                                     April 14, 2025, 8:36 am
Location:                                               WASHINGTON, DC 20580
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail TM
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         MELISSA HOLYOAK COMMISSIONER
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

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               Melissa Holyoak, Commissioner
               Federal Trade Commission
               600 Pennsylvania Avenue, NW
               Washington, DC 20580
               Reference #: 13080245
Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 57 of 96
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Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 69 of 96
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Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 71 of 96
Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 72 of 96
Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 73 of 96
Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 74 of 96
Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 75 of 96
Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 76 of 96
            Case 1:25-cv-00916-JDB                  Document 120             Filed 05/06/25          Page 77 of 96


                       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                            Plaintiff
                                                              vs.                        Case No.: 1:25-cv-00916-BAH
U.S. Department ofJustice, et al.
                         Defendants


                                           AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Setver, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.

DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits

SERVE TO: Securities and Exchange Commission

SERVICE ADDRESS: 100 F Street, NE, Washington, DC 20549

METHOD OF SERVICE: Setvice was completed by mailing a copy of the documents listed herein to Securities and Exchange Commission,
100 F Street, NE, Washington, DC 20549 on 04/10/2025 via United States Postal Service, Certified Mail, Return Receipt Requested. Article
Number: 9402 8362 0855 1274 4795 25. Service was signed for on 04/11/2025, return receipt attached.

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief

Executed on 04/24/2025




                                                                                                                       Carrie Hollingshed


                                                                                                             Client Ref Number: 358086-201
                                                                                                                            Job #:13079743




          Capitol Process Setvices, Inc. I 7500 Greenway Center Drive, Suite 420, Greenbelt Maryland 20770 I (202) 667-0050
        Case 1:25-cv-00916-JDB                  Document 120             Filed 05/06/25          Page 78 of 96

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April 11 , 2025


Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4795 25.

Item Details

Status:                                                 Delivered, Front Desk/Reception/Mail Room
Status Date/ Time:                                      April 11, 2025, 11 :47 am
Location:                                               WASHINGTON, DC 20549
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail TM
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         SECURITIES AND EXCHANGE COMMISSION

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                  Signature of Recipient:              , - = .,
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                    Address of Recipient:               r       ~a[4 qSf{
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               Securities and Exchange Commission
               Securities and Exchange Commission
               100 F Street, NE
               Washington, DC 20549
               Reference #: 13079743
            Case 1:25-cv-00916-JDB                  Document 120             Filed 05/06/25          Page 79 of 96


                       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                            Plaintiff
                                                              vs.                        Case No:1 :25-cv-00916-BAH
U.S. Department ofJustice, et al.
                         Defendants


                                           AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.


DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate judge; Civil Cover Sheet; and Complaint with Exhibits


SERVE TO: Caroline A. Crenshaw, in her official capacity as Commissioner, Securities and Exchange Commission

SERVICE ADDRESS: 100 F Street, NE, Washington, DC 20549


METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Caroline A. Crenshaw, in her official
capacity as Commissioner, Securities and Exchange Commission, 100 F Street, NE, Washington, DC 20549 on 04110/2025 via United
States Postal Service, Certified Mail, Return Receipt Requested. Article Number: 9402 8362 0855 1274 4794 71. Service was signed for on
04/11/2025, electronic return receipt attached.

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief

Executed on 04/24/2025




                                                                                                                       Carrie Hollingshed


                                                                                                             Client Ref Number: 358086-201
                                                                                                                           Job #: 13079688




          Capitol Process Services, Inc. I 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 I (202) 667-0050
        Case 1:25-cv-00916-JDB                  Document 120             Filed 05/06/25          Page 80 of 96

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&     POSTl.1LSERVICE

April 11, 2025

Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4794 71.

Item Details

Status:                                                 Delivered, Front Desk/Reception/Mail Room
Status Date I Time:                                     April 11, 2025, 11 :47 am
Location:                                               WASHINGTON, DC 20549
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail TM
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         CAROLINE A CRENSHAW COMMISSIONER

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                  Signature of Recipient:
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                    Address of Recipient:               I\   ~a[44 Sf{
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Washington, D.C. 20260-0004




               Caroline A. Crenshaw, Commissioner
               Securities and Exchange Commission
               100 F Street, NE
               Washington, DC 20549
               Reference #: 13079688
            Case 1:25-cv-00916-JDB                  Document 120             Filed 05/06/25           Page 81 of 96


                       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                            Plaintiff
                                                              vs.                        Case No.: 1:25-cv-00916-BAH
U.S. Department ofjustice, et al.
                         Defendants


                                           AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.


DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits


SERVE TO: Hester M. Peirce, in her official capacity as Commissioner, Securities and Exchange Commission

SERVICE ADDRESS: 100 F Street, NE, Washington, DC 20549


METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Hester M. Peirce, in her official capacity
as Commissioner, Securities and Exchange Commission, 100 F Street, NE, Washington, DC 20549 on 04/10/2025 via United States Postal
Service, Certified Mail, Return Receipt Requested. Article Number: 9402 8362 0855 1274 4794 40. Service was signed for on 04/11/2025,
electronic return receipt attached.

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 04/24/2025




                                                                                                                       Carrie Hollingshed


                                                                                                             Client Ref Number: 358086-201
                                                                                                                            Job #:13079707




          Capitol Process Services, Inc. I 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 I (202) 667-0050
        Case 1:25-cv-00916-JDB                  Document 120             Filed 05/06/25          Page 82 of 96

~ UNITEDST/JTES
If.a POSTl.lLSERVICE
April 11 , 2025

Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4794 40.

Item Details

Status:                                                 Delivered, Front Desk/Reception/Mail Room
Status Date I Time:                                     April 11, 2025, 11 :47 am
Location:                                               WASHINGTON, DC 20549
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail TM
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         HESTER M PEIRCE COMMISSIONER

~Ai·ileii~lliiGII-•
                  Signature of Recipient:
                                                        '~   :j➔"'"'
                                                             R_. __:~,.
                                                                                .,



                    Address of Recipient:               1•~A[44 Sf_(
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assistance, please contact your local Post Office TM or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
4 75 L'Enfant Plaza SW
Washington, D.C. 20260-0004




               Hester M. Peirce, Commissioner
               Securities and Exchange Commission
               100 F Street, NE
               Washington, DC 20549
               Reference #: 13079707
            Case 1:25-cv-00916-JDB                  Document 120             Filed 05/06/25          Page 83 of 96


                       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                            Plaintiff
                                                              vs.                        Case No.: 1 :25-cv-00916-BAH
U.S. Department ofjustice, et al.
                         Defendants


                                           AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.


DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits


SERVE TO: Mark T. Uyeda, in his official capacity as Commissioner, Securities and Exchange Commission

SERVICE ADDRESS: 100 F Street, NE, Washington, DC 20549


METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Mark T. Uyeda, in his official capacity as
Commissioner, Securities and Exchange Commission, 100 F Street, NE, Washington, DC 20549 on 04/10/2025 via United States Postal
Service, Certified Mail, Return Receipt Requested. Article Number: 9402 8362 0855 1274 4795 18. Service was signed for on 04/11/2025,
electronic return receipt attached.


I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief

Executed on 04/24/2025




                                                                                                                       Carrie Hollingshed


                                                                                                             Client Ref Number: 358086-201
                                                                                                                           Job #:13079733




          Capitol Process Services, Inc. I 7500 Greenway Center Drive, Suite 420, Greenbelt Maryland 20770 I (202) 667-0050
        Case 1:25-cv-00916-JDB                  Document 120             Filed 05/06/25          Page 84 of 96

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      UNITEDST/lTES
      POSTl.1L SERVICE


April 11 , 2025

Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 08551274 4795 18.

Item Details

Status:                                                 Delivered, Front Desk/Reception/Mail Room
Status Date I Time:                                     April 11, 2025, 11 :47 am
Location:                                               WASHINGTON, DC 20549
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail TM
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         MARKT UYEDA COMMISSIONER

~Ai-ildiMiiidli-•
                  Signature of Recipient:
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                    Address of Recipient:               r   ~a[44 Sf{
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Washington, D.C. 20260-0004




               Mark T. Uyeda, Commissioner
               Securities and Exchange Commission
               100 F Street, NE
               Washington, DC 20549
               Reference #: 13079733
               Case 1:25-cv-00916-JDB                 Document 120               Filed 05/06/25       Page 85 of 96


                          IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                               Plaintiff
                                                                vs.                       Case No.: 1:25-cv-00916-BAH
U.S. Department ofJustice, et al.
                         Defendants


                                             AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.

DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate judge; Civil Cover Sheet; and Complaint with Exhibits


SERVE TO: Scott Bessent, in his official capacity as Secretary of the Treasury

SERVICE ADDRESS: 1500 Pennsylvania Avenue, NW, Washington, DC 20220

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Scott Bessent, in his official capacity as
Secretary of the Treasury, 1500 Pennsylvania Avenue, NW, Washington, DC 20220 on 0411012025 via United States Postal Service,
Certified Mail, Return Receipt Requested. Article Number: 9402 8362 0855 1274 4795 49. Service was signed for on 04/14/2025,
electronic return receipt attached.

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 04/24/2025




                                                                                                                        Carrie Hollingshed


                                                                                                              Client Ref Number: 358086-201
                                                                                                                             Job #:13079762




              Capitol Process Services, Inc. I 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 I (202) 667-0050
        Case 1:25-cv-00916-JDB                   Document 120            Filed 05/06/25           Page 86 of 96

a     UNITEDST/JTES
      POST/JL SERVICE

April 14, 2025

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The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4795 49.

Item Details

Status:                                                 Delivered, Individual Picked Up at Postal Facility
Status Date / Time:                                     April 14, 2025, 4:13 am
Location:                                               WASHINGTON, DC 20220
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail TM
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         SCOTT BESSENT SECRETARY




                  Signature of Recipient:


                    Address of Recipient:

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Washington, D.C. 20260-0004




               Scott Bessent, Secretary
               U.S. Department of the Treasury
               1500 Pennsylvania Avenue, NW
               Washington, DC 20220
               Reference #: 13079762
Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 87 of 96
Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 88 of 96
            Case 1:25-cv-00916-JDB                  Document 120             Filed 05/06/25           Page 89 of 96


                       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                            Plaintiff
                                                              vs.                        Case No.: 1 :25-cv-00916-BAH
U.S. Department ofJustice, et al.
                         Defendants


                                           AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.

DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits

SERVE TO: United States Postal Service

SERVICE ADDRESS: 475 L'Enfant Plaza, SW, Washington, DC 20260

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to United States Postal Service, 475
L'Enfant Plaza, SW, Washington, DC 20260 on 04/10/2025 via United States Postal Service, Certified Mail, Return Receipt Requested.
Article Number: 9402 8362 0855 1274 4796 48. Service was signed for on 04/14/2025, electronic return receipt attached.

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief

Executed on 04/24/2025




                                                                                                                       Carrie Hollingshed


                                                                                                             Client Ref Number: 358086-201
                                                                                                                           Job #: 13079952




          Capitol Process Services, Inc. I 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 I (202) 667-0050
         Case 1:25-cv-00916-JDB                 Document 120             Filed 05/06/25          Page 90 of 96
rir'!'!!!fl UNITED ST/JTES
&     POSTl.1LSERVICE


April 14, 2025


Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 08551274 4796 48.

Item Details

Status:                                                 Delivered, Left with Individual
Status Date I Time:                                     April 14, 2025, 7:50 am
Location:                                               WASHINGTON, DC 20260
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail TM
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         UNITED STATES POSTAL SERVICE

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                    Signature of Recipient:
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                      Address of Recipient:                (D~GJ
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Washington, D.C. 20260-0004




                 United States Postal Service
                 475 L'Enfant Plaza, SW
                 Washington, DC 20260
                 Reference #: 13079952
                Case 1:25-cv-00916-JDB                Document 120            Filed 05/06/25           Page 91 of 96


                          IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                               Plaintiff
                                                                vs.                       Case No.: 1:25-cv-00916-BAH
U.S. Department ofJustice, et al.
                         Defendants


                                             AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.


DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits


SERVE TO: Louis De}oy, in his official capacity as Postmaster General and Chief Executive Officer of the United States Postal Service c/o
Doug Tulino

SERVICE ADDRESS: 475 L'Enfant Plaza, SW, Washington, DC 20260

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Louis Dejoy, in his official capacity as
Postmaster General and Chief Executive Officer of the United States Postal Service c/o Doug Tulino, 475 L'Enfant Plaza, SW, Washington,
DC 20260 on 04/11/2025 via United States Postal Service, Certified Mail, Return Receipt Requested. Article Number: 9402 8362 0855
1274 4796 17. Service was signed for on 04/16/2025, electronic return receipt attached.

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 0412412025




                                                                                                                         Carrie Hollingshed


                                                                                                               Client Ref Number: 358086-201
                                                                                                                              Job #:13079945




              Capitol Process Services, Inc. I 7500 Greenway Center Drive, Suite 420, Greenbelt Maryland 20770 I (202) 667-0050
        Case 1:25-cv-00916-JDB                   Document 120            Filed 05/06/25          Page 92 of 96

~ UNITEDST/JTES
If.a POSTllL SERVICE
April 16, 2025


Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4796 17.

Item Details

Status:                                                 Delivered, Left with Individual
Status Date / Time:                                     April 16, 2025, 8:32 am
Location:                                               WASHINGTON, DC 20260
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail TM
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         LOUIS DEJOY POSTMASTER GENERAL

~#¥1lii-ii4¥•
                                                            C, f}-(t"i? A/
                  Signature of Recipient:
                                                            C, 5fr:._vr"i}
                    Address of Recipient:

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Washington, D.C. 20260-0004




               Louis DeJoy, Postmaster
               General/Chief Executive Officer
               c/o Doug Tulino
               United States Postal Service
               475 L'Enfant Plaza, SW
               Washington, DC 20260
               Reference #: 13079945
Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 93 of 96
Case 1:25-cv-00916-JDB   Document 120   Filed 05/06/25   Page 94 of 96
             Case 1:25-cv-00916-JDB                   Document 120              Filed 05/06/25       Page 95 of 96


                        IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Jenner & Block LLP
                             Plaintiff
                                                                 vs.                      Case No.: 1:25-cv-00916-BAH
U.S. Department ofJustice, et al.
                         Defendants


                                             AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Carrie Hollingshed, a Private Process Setver, being duly sworn, depose and say, I have been duly authorized to make service of the
documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in
this matter.

DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits

SERVE TO: Douglas A. Collins, in his official capacity as Secretary of Veterans Affairs

SERVICE ADDRESS: 810 Vermont Avenue, NW, Washington, DC 20420

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Douglas A. Collins, in his official
capacity as Secretary of Veterans Affairs, 810 Vermont Avenue, NW, Washington, DC 20420 on 04110/2025 via United States Postal
Service, Certified Mail, Return Receipt Requested. Article Number: 9402 8362 0855 1274 4797 54. Service was signed for on 04/14/2025,
electronic return receipt attached.

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 04/24/2025




                                                                                                                       Carrie Hollingshed


                                                                                                             Client Ref Number: 358086-201
                                                                                                                           Job #: 13079976




           Capitol Process Services, Inc. I 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 I (202) 667-0050
        Case 1:25-cv-00916-JDB                  Document 120             Filed 05/06/25          Page 96 of 96
a     UNITEDSTllTES
      POSTl.1L SERVICE


April 14, 2025

Dear Simple Certified:

The following is in response to your request for proof of delivery on your item with the tracking number:
9402 8362 0855 1274 4797 54.

Item Details

Status:                                                 Delivered, Individual Picked Up at Postal Facility
Status Date/ Time:                                      April 14, 2025, 5:4 7 am
Location:                                               WASHINGTON, DC 20420
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail TM
                                                        Return Receipt Electronic
                                                        Up to $100 insurance included
Recipient Name:                                         DOUGLAS A COLLINS SECRETARY

~tWHJl!'IHii-•
                  Signature of Recipient:


                    Address of Recipient:

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Washington, D.C. 20260-0004




               Douglas A. Collins, Secretary
               Department of Veterans Affairs
               810 Vermont Avenue, NW
               Washington, DC 20420
               Reference #: 13079976
